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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :
          v.                  :                         Criminal No.: 21-CR-37 (TNM)
                              :
TIMOTHY LOUIS HALE-CUSANELLI, :
                              :
    Defendant.                :


            GOVERNMENT’S MOTION IN LIMINE TO ALLOW A CERTAIN
         WITNESS TO TESTIFY USING PSEUDONYM INSTEAD OF GIVEN NAME

           The United States of America, by and through its attorney, the United States Attorney

    for the District of Columbia, respectfully requests that, because of security concerns, the Court

    permit a certain government witness to testify using a pseudonym instead of his given name. In

    support of this motion, the government states the following:

                                           BACKGROUND
          A. Factual Background

          On January 6, 2021, the defendant, Timothy Hale-Cusanelli, was a United States Army

Reservist who resided on Naval Weapons Station (NWS) Earle in Colts Neck, New Jersey and

held a “Secret” level Security Clearance.1 The defendant traveled to Washington, D.C., on January

6, 2021, and participated in the attack on the United States Capitol (hereinafter, “the Capitol

breach”) that took place later that day.

          In the early afternoon on January 6, before the U.S. Capitol was breached, the defendant

was near the front of the crowd pushing toward the building on its West Side. As he moved toward

the building, he passed barriers that had been knocked aside and witnessed rioters fighting law


1      Hale-Cusanelli was discharged from the United States Army effective June 3, 2021. He
received an “Other than Honorable Discharge” and a reduction in rank from Sergeant (E-5) to
PV1 (E-1).
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enforcement officers who were attempting to hold the mob back. The defendant moved toward

the Capitol, using his military training to withstand the effects of OC spray, and continued as law

enforcement officers threw flashbangs to disperse the crowd, despite losing his hearing at one

point. The defendant urged fellow rioters to advance on the Capitol using vocal and tactical-hand

signals. As the defendant moved closer to the Capitol, he witnessed rioters’ collective assault on

the law enforcement line guarding the Capitol, leading to the moment when the conflict between

law enforcement officials and the rioters—in the defendant’s words—“blew up.” The defendant

entered the Capitol through the Senate Wing Door at approximately 2:14 p.m., moments after the

first rioter breached the building through a nearby broken window.

       After the riot, the defendant admitted his conduct and explained his motive for participating

in the riot to a Confidential Human Source (“CHS”). In his conversation with the CHS, the

defendant could not find words to describe how exhilarating January 6 was, due to “the adrenaline,

the rush, the purpose” that he felt. The defendant told the CHS that the closest comparison to what

he experienced would be “civil war,” and stated that if there had been more rioters, they could

have taken the entire Capitol and held it. The defendant stated that he “really wishes” for a civil

war and that it would be “only a matter of time” before such a war breaks out. When the CHS

asked about the likelihood of significant fatalities, the defendant replied: “Thomas Jefferson said

the tree of liberty should be refreshed with the blood of patriots and tyrants.” The defendant further

admitted his conduct and motive in an interview with law enforcement officials, during which he

stated that he had intended to interfere with the certification of the 2020 Presidential Election and

had done so.

       B. Procedural Background

       On March 9, 2022, the defendant was charged by superseding indictment with violations



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of 18 U.S.C. §§ 1512(c)(2), 2 (obstructing an official proceeding); 18 U.S.C. § 1752(a)(1) and (2)

(unlawful entry and disorderly conduct on restricted grounds); and 40 U.S.C. § 5104(e)(2)(D) and

(G) (disruptive or disorderly conduct and parading, demonstrating, or picketing in Capitol

Buildings). The obstruction charge carries a maximum statutory penalty of twenty years. A trial

in this matter is set for May 23, 2022.

       C. Additional Background Concerning the Investigation and the CHS

         1. Media Coverage of the Case

         The investigation into the January 6, 2021, breach of the United States Capitol and its

 corresponding prosecutions have been widely publicized. In particular, Hale-Cusanelli’s case

 has been closely followed and it is clear that members of the public have taken a strong interest

 in the case. Undersigned government counsel and the investigative team have received multiple

 contacts from individuals with no involvement in Hale-Cusanelli’s case and no apparent

 personal connection to Hale-Cusanelli inquiring about and seeking to provide input on behalf

 of Hale-Cusanelli.

         Supporters of Hale-Cusanelli, including family members and friends, have also been

 actively and publicly advocating for Hale-Cusanelli. Two associates have appeared on internet

 radio shows discussing Hale-Cusanelli’s case.

         A family member of Hale-Cusanelli has established a fundraising and advocacy

 organization called “Patriot Freedom Project,” which promotes detained Capitol breach

 defendants. That family member appears to operate two Twitter accounts, @patriot_J6 and

 @patriotCHD, which regularly post updates about January 6 cases, including the defendant’s

 case. In online appearances and on Twitter, this family member refers to detained Capitol

 breach defendants as “political prisoners.” A fundraising campaign on givesendgo.com titled



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 “Free Tim Hale” has raised $13,133 as of this writing.

         2. Impact on CHS

         The media coverage of this case has had an impact on the CHS. On one of the

 aforementioned Youtube “podcasts,” a friend of Hale-Cusanelli specifically mentioned the CHS

 and described the CHS as someone Hale-Cusanelli “thought of as a friend.” The friend made

 clear that s/he is aware of the identity of the CHS. The host of the podcast on which the friend

 appeared repeatedly referred to the CHS as a “rat” who “entrapped” Hale-Cusanelli in

 cooperation with the government.

       The CHS is familiar with defendant Hale-Cusanelli from NWS Earle, where both lived

and worked. Hale-Cusanelli was the elected leader of the employee union on NWS Earle, and

the CHS believes that Hale-Cusanelli developed strong support from former coworkers. The

CHS believes these former coworkers will be easily able to identify him and his whereabouts.

       The notoriety of Hale-Cusanelli’s case, Hale-Cusanelli’s personal reach, and the online

advocacy of his supporters put the CHS in fear that they would be the subject of harassment and

reprisals in connection with this case. The CHS made plans to move from NWS Earle after

assisting with this investigation. The CHS has changed addresses and phone numbers multiple

times since moving and deleted his social media profiles in an effort to obscure his identity. The

CHS took these prophylactic steps on the basis of his credible concern for his safety if his identity

became known to the public.

                                           ARGUMENT

         The CHS should be permitted to testify using a pseudonym. By cooperating with the

 United States in connection with the investigation into Hale-Cusanelli, the CHS has been and

 will be exposed to a significant risk of harm. If the CHS’s identity were to be made public,



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radical activists closely following this case online and Hale-Cusanelli’s personal connections

could well take vengeance on the CHS. It is likely that if forced to testify using their real name

in this case, that members of the public who support Hale-Cusanelli will target the CHS by

contacting the CHS personally or waging an online harassment campaign. This risk can be

mitigated through the implementation of the prophylactic measure of allowing the CHS to testify

using a pseudonym. The defense is already aware of the true name of the CHS, thus allowing

the defense team to have ample time to investigate and prepare for the cross-examination of

these witnesses at trial. For this reason, the use of a pseudonym will not be prejudicial to the

defendant. The government therefore requests that the Court permit the CHS to testify using a

pseudonym instead of their given name.

         The Confrontation Clause arose in response to the legal abuses that occurred in criminal

trials in England prior to the seventeenth century. The Confrontation Clause was meant to

protect against the use of anonymous accusers, individuals who signed declarations, did not

attend trial, did not swear to the truth of their statements, and did not face the trier of fact or the

defendant. California v. Green, 399 U.S. 149, 156 (1970). The purpose of the Confrontation

Clause was to provide specific trial procedures to promote the reliability and the integrity of

evidence presented in criminal trial. Id. at 356-57. This is accomplished by providing certain

rights to the accused, including the right to cross-examine and physically confront one’s

accusers. The Clause also affords to the accused various layers of protection: that trials be set

in a court of law; that the accused and the prosecution witnesses be present before the trier of

fact; that the trier of fact be able to observe the demeanor and assess the credibility of the

witnesses as they testify; and that witnesses give their statements under oath, subject to the




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    penalty of perjury. Maryland v. Craig, 497 U.S. 836, 845-46 (1990). 2

             The guarantees of the Confrontation Clause are not threatened here by allowing the

    CHS to testify under a pseudonym. The defendant is aware of the true identity of the witness

    as well as sufficient information to place the witnesses in the proper setting. The true identity

    of the CHS will merely remain under seal from the public to ensure the CHS’s safety. The

    defendant would still have the opportunity to confront the CHS. He would have the opportunity

    for cross-examination, and the trier of fact would have the opportunity to assess the demeanor

    and credibility of the witnesses. In addition, the CHS would give testimony under oath, subject

    to the penalty of perjury.

            This minimal protection will not affect the defendant’s confrontation rights. Alford v.

    United States, 282 U.S. 687 (1931), and Smith v. Illinois, 390 U.S. 129 (1968), require as a

    constitutional minimum that a defendant be given an opportunity to place the prosecution’s

    witness in their proper setting and to test the weight of their testimony and their credibility before

    the jury. In dicta, the majority in Smith suggested that a demonstrated risk to the safety of a

    witness could, in an appropriate case, justify some curtailment of the accused’s right of

    confrontation, including cross-examination. 390 U.S. 129, 133-134 (White J., joined by

    Marshall J., concurring). Relying on Smith, courts have found that the confrontation rights of

    the accused are not absolute and should yield where the prosecution proves that the threat to the

    witness is actual and not the result of conjecture. See United States v. Palermo, 410 F.2d 468,



2         Even if the Confrontation Clause were impacted, it may nonetheless be limited by the trial court, just as
with any other constitutional right. See Peretz v. United States, 501 U.S. 923, 936 (1991) (“The most basic rights of
criminal defendants are...subject to waiver.”). The privilege may be lost by consent, by express or implied waiver,
by conduct, or by misconduct. Diaz v. United States, 223 U.S. 442, 450 (1912). Additionally, the confrontation
rights of the accused are also limited by recognized hearsay exceptions. Because the fundamental aim of the
Confrontation Clause is to promote the integrity of the fact-finding process, exceptions under the hearsay rules,
when they are firmly rooted and have sufficient indicia of reliability, do not violate that right. See White v. Illinois,
502 U.S. 346, 355, 355 n.8 (1992).


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472 (7th Cir. 1969).

       The trial court is permitted to place reasonable limitations on the bounds of cross-

examination without violating the Sixth Amendment. Delaware v. Van Arsdall, 475 U.S. 673,

679 (1986); see also Maryland v. Craig, 497 U.S. 836, 863 (1990) (Scalia, J., dissenting).

Federal courts, under appropriate circumstances including safety concerns of the witnesses and

their families, have permitted government witnesses to testify using pseudonyms. See, e.g.,

United States v. Celis, 608 F.3d 818, 833-34 (D.C. Cir. 2010) (in a drug trafficking conspiracy

case involving the FARC, a protective order allowing government witnesses to testify under a

pseudonym and limiting disclosure of their true identities did not impermissibly intrude upon a

defendant’s confrontation rights under the Sixth Amendment); United States v. Machado-Erazo,

951 F.Supp.2d 148, 154 (D.D.C. 2013) (where there was a genuine and continuing threat to the

safety of a foreign police office, he was permitted to testify under a pseudonym, without

disclosing his true identity to the defense); see also United States v. Ramos-Cruz, 667 F.3d 487,

500 (4th Cir. 2012) (it was within the court’s discretion to allow two government witnesses to

testify under pseudonyms and without revealing their names where a threat was actual and

not a result of conjecture); United States v. El-Mezain, 664 F.3d 467 (5th Cir. 2011) (Israeli

intelligence officers permitted to testify using pseudonyms where there exists legitimate safety

concerns for witnesses); United States v. Ellis, 468 F.2d 638 (9th Cir. 1972) (Ninth Circuit

affirmed district court’s refusal to allow a defendant to elicit the witness’s correct name,

residence, and occupation because of potential harm to the witness); United States v. Fuentes,

988 F. Supp. 861 (E.D. Pa. 1977) (Confrontation Clause does not require an undercover

narcotics agent’s revelation of his true identity in open court, stating not permitting use of his

true name during trial has [in our view] no constitutional significance). These courts have



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generally required limited disclosure of the witness’s identity to the necessary members of the

defense team to allow for cross-examination sufficient to comply with the Confrontation Clause,

but hold that there is no absolute right of an accused to have a jury hear a witness’s true name

and address.

        If it becomes public that the CHS is assisting the United States against the defendant, it

 would only serve to further incite reprisals against the CHS by supporters of the defendant and

 ideological extremists. Because of the safety concerns present in this case, the United States

 submits that this Court should permit the CHS to testify using pseudonyms rather than their

 given name, and that the defense team be ordered not to further disclose the true name of these

 witnesses.

       WHEREFORE, for the foregoing reasons, the government respectfully requests that the

Court permit the CHS to testify using pseudonyms. A proposed Order is attached.

                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 United States Attorney
                                                 DC Bar No. 481052


                                         By:             /s/
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :
          v.                  :                     Criminal No.: 21-CR-37 (TNM)
                              :
TIMOTHY LOUIS HALE-CUSANELLI, :
                              :
    Defendant.                :

                                            ORDER

         Upon consideration of the Government’s Motion to Allow a Certain Witness to Testify

 Using Pseudonym Instead of Given Name, and response thereto, and the entire record in this case,

 it is this hereby

         ORDERED, that the Government’s Motion to Allow a Certain Witness to Testify Using

 Pseudonym Instead of Given Name is GRANTED; it is further

         ORDERED, that the witness identified by the government as CHS is permitted to testify

 using a pseudonym instead of their real names and it is further

         ORDERED, that the defendant not publicly disclose the identities of the CHS.



____________                              __________________________________________

Date                                      THE HONORABLE TREVOR N. MCFADDEN
                                          U.S. DISTRICT COURT JUDGE
